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UN 2.6 2019 UNITED STATES DISTRICT COURT

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JF LOUISIANA
NA

WESTERN DISTRICT OF LOUISIANA

    
 

MONROE DIVISION

_UNITED STATES OF AMERICA

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* 3:19-cr-00200
VERSUS ‘4 Judge Doughty

: Magistrate Judge Hayes
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JAMARVIN K. JACKSON (1) |
JAMES R. BLACKSON (2)

INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1
Interference with Commerce by Robbery
[18 U.S.C. § 1951(a) and 18 U.S.C. § 2]

On or about January 26, 2019, in the Western District of Louisiana, the
Defendants, Jamarvin K. Jackson and James R. Blackson, each aided and
abetted by the other, did unlawfully obstruct, delay, and affect commerce, and
attempt to obstruct, delay, and affect commerce, as that term is defined in Title 18,
United States Code, Section 1951, the movement of articles and commodities in such
commerce, by robbery as that term is defined in Title 18, United States Code, Section
1951, in that Jamarvin K. Jackson aided and abetted by James R. Blackson, did
unlawfully take and obtain personal property consisting of United States currency
belonging to Lhariri, LLC dba Family Stop & Shop, from a Lharini, LLC dba Family

Stop & Shop employee against his will by means of actual and threatened force,

violence, and fear of injury, immediate and future, to his person, that is: by robbery,
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while using, carrying, brandishing, and discharging a firearm, all in violation of Title
18, United States Code, Sections 1951 (a) and 2. [18 U.S.C. § 1951(a) and 18 U.S.C. §
2].
COUNT 2
Use of a Firearm During and in Relation to a Crime of Violence
[18 U.S.C. § 924(c)(1)(A) Gi)]

On or about January 26, 2019, in the Western District of Louisiana, the
Defendant, Jamarvin K. Jackson, did knowingly discharge, brandish, carry, and
use a firearm, to wit: a Ruger P89 DC .9mm pistol, during and in relation to a crime
of violence for which he may be prosecuted in a court of the United States, that is,
Interference with Commerce by Robbery as set forth in COUNT 1 of this Indictment,
all in violation of Title 18, United States Code, Section 924(c)(1)(A)@). [18 U.S.C. §
924(c)(1)(A)GQ)I.

COUNT 3
Felon in Possession of Firearm
[18 U.S.C. §§ 922(g)(1) and 924(a)(2)]

On or about January 26, 2019, in the Western District of Louisiana, the
Defendant, Jamarvin K. Jackson, knowingly possessed in and affecting interstate
commerce, a firearm, to-wit: a Ruger P89 DC .9mm pistol, and ammunition, and did
so knowing that he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, did all in violation of Title 18, United

States Code, Sections 922(g)(1) and 924(a)(2). [18 U.S.C. §§ 922(g)(1) and 924(a)(2)].

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COUNT 4
Possession with Intent to Distribute Marijuana
[21 U.S.C. §§ 841(a)(1) and (b)(1)(D))]

On or about March 6, 2019, in the Western District of Louisiana, the defendant,
Jamarvin K. Jackson, did knowingly and intentionally possess with intent to
distribute a mixture and substance containing a detectable amount of marijuana, a
Schedule I controlled substance, all in violation of Title 21, United States Code,
Sections 841(a)(1) and (b)(1)(D). [21 U.S.C. §§ 841(a)(1) and (b)(1)(D)].

COUNT 5
Possession of a Firearm in Furtherance of a Drug Trafficking Crime
[18 U.S.C. § 924(c)(1)(A)]

On or about March 6, 2019, in the Western District of Louisiana, the
Defendant, Jamarvin K. Jackson, did knowingly possess a firearm, to wit: a Ruger
P89 DC .9mm pistol, and ammunition, in furtherance of a drug trafficking crime for
which he may be prosecuted in a court of the United States, that is, Possession with
the Intent to Distribute Marijuana as set forth in COUNT 4 of this Indictment, all in
violation of Title 18, United States Code, Section 924(c)(1)(A). [18 U.S.C. §
92.4(c)(1)(A)].

COUNT 6
Felon in Possession of Firearm
[18 U.S.C. §§ 922(g)(1) and 924(a)(2)]

On or about March 6, 2019, in the Western District of Louisiana, the

Defendant, Jamarvin K. Jackson, knowingly possessed in and affecting interstate

commerce, a firearm, to-wit: a Ruger P89 DC .9mm pistol, and ammunition, and did

so knowing that he had previously been convicted of a crime punishable by

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imprisonment for a term exceeding one year, all in violation of Title 18, United States

Code, Sections 922(g)(1) and 924(a)(2). [18 U.S.C. §§ 922(g)(1) and 924(a)(2)].

FORFEITURE NOTICE

A. The allegations in all counts are re-alleged and incorporated by
reference for the purpose of alleging forfeiture pursuant to the provisions of Title 21,
United States Code, Section 853, Title 18, United States Code, Section 924(d)(1) and
Rule 32.2(a) of the Federal Rules of Criminal Procedure.

B. Upon conviction of the controlled substances offense set forth above in
this Indictment, the Defendant, Jamarvin K. Jackson, shall forfeit to the United
States all of his interest in:

1. Any property consisting of or derived from proceeds the
Defendant obtained directly or indirectly as the result of said violations
as set forth in this Indictment, which includes $1,760 seized by law
enforcement; and

2. Any property including firearms used or intended to be
used in any manner or part to commit or facilitate the commission of the
aforementioned violations.

C. Upon conviction of the firearms offenses set forth above in this
Indictment, the Defendants, Jamarvin K. Jackson and James R. Blackson, shall
forfeit to the United States the following items:

1. $805 in U.S. currency;

2. a Ruger P89 DC .9mm pistol, and

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3. 14 rounds of .9mm Winchester ammunition.

D. If any of the property described above as being subject to forfeiture as a

result of any act or omission of the Defendants:

1. cannot be located upon the exercise of due diligence;

2. has been transferred or sold to, or deposited with, a third person;

3. has been placed beyond the jurisdiction of the Court;

A, has been substantially diminished in value; or

5. has been commingled with other property which cannot be

subdivided without difficulty,

it is the intent of the United States, pursuant to Title 21, United States Code, Section

853(p) to seek forfeiture of any other property of the Defendants up to the value of

the property subject to forfeiture.

All in accordance with Title 21, United States Code, Section 853, Title 18,

United States Code, Section 924(d)(1) and Rule 32.2(a) of the Federal Rules of

Criminal Procedure.

A TRUE BILL:

REDACTED

 

GRAND JURY FOREPERSON

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